                     IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF ALASKA


BRADLEY DAVIDS,                         )
                                        )
                             Plaintiff, )
                                        )
      vs.                               )
                                        )
UNITED STATES OF AMERICA,               )
                                        )                     No. 3:14-cv-0228-HRH
                            Defendant. )
_______________________________________)



                                         ORDER

                                      Case Dismissed

       The parties’ Joint Stipulation for Dismissal,1 filed January 4, 2017, is granted.

This case is dismissed with prejudice, the parties to bear their respective costs and

attorney fees.
       DATED at Anchorage, Alaska, this 6th day of January, 2017.


                                                  /s/ H. Russel Holland
                                                  United States District Judge




       1
        Docket No. 26.

Order – Case Dismissed                                                                     -1-


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